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                       IN THE UNITED STATES DISTRICT COURT 

                      FOR THE EASTERN DISTRICT OF MISSOURI 

                                (EASTERN DIVISION) 



BRENDA STEINHAUER,                                     )
                                                       )
       Plaintiff,                                      )
                                                       )
vs.                                                    )     Case No. 4: 12-CV-2087SPM
                                                       )
DR GUISEPPE ALIPERTI and                               )

MIDWEST THERAPEUTIC ENDOSCOPY                          )

CONSULTANTS, LLC,                                      )

                                                       )

       Defendants.                                     )



                      STIPULATION FOR VOLUNTARY DISMISSAL

       Now comes the Plaintiff, BRENDA STEINHAUER, by her attorneys, STRELLIS &

FIELD, CHARTERED, and defendants, DR GUISEPPE ALIPERTI and MIDWEST

THERAPEUTIC ENDOSCOPY CONSULTANTS, LLC, by their attorneys, THE BALDWIN

LAW GROUP, and for their Stipulation for Voluntary Dismissal hereby stipulate that pursuant to

F.RC.P. 41      (a)(I)(ii), the Defendants, DR         GUISEPPE ALIPERTI and MIDWEST

THERAPEUTIC ENDOSCOPY CONSULTANTS, LLC, be voluntarily dismissed without

prejudice and each party shall bear their own costs.

                                                       STRELLIS & FIELD, CHARTERED

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